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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MILLIONAIRE MEDIA, LLC,

                      Plaintiff,
        v.                                            Civil Action No. 1:14-cv-08576
                                                      Judge Robert W. Gettleman
JOHN DOE, subscriber assigned IP address
24.13.144.11,

                      Defendant.


                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                      WITHOUT PREJUDICE OF JOHN DOE

        PLEASE TAKE NOTICE, Plaintiff hereby voluntarily dismisses John Doe

(“Defendant”) from this action without prejudice.        John Doe was assigned the IP address

24.13.144.11. Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i) Defendant John Doe has neither answered

Plaintiff’s Complaint nor filed a motion for summary judgment.

        Consistent herewith Plaintiff consents to the Court having its case closed for

administrative purposes.

        Dated: March__11__, 2015
                                                      Respectfully submitted,

                                                      By:    /s/ Mary K. Schulz
                                                      Mary K. Schulz
                                                      Schulz Law, P.C.
                                                      1144 E. State Street, Suite A260
                                                      Geneva, IL 60134
                                                      Phone: 224-535-9510
                                                      Email: SchulzLaw@me.com
                                                      Attorney for Plaintiff




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                               CERTIFICATE OF SERVICE


       I hereby certify that on March__11_, 2015, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF and that service was perfected on all counsel of
record and interested parties through this system.


                                                          By: /s/ Mary K. Schulz_________
                                                          Mary K. Schulz




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